
82 So.3d 1227 (2012)
Demetrius WASHINGTON, Appellant,
v.
STATE, DEPARTMENT OF REVENUE, CHILD SUPPORT ENFORCEMENT PROGRAM obo Ashley D. ROBERTS, Appellee.
No. 1D11-3740.
District Court of Appeal of Florida, First District.
March 28, 2012.
Demetrius Washington, pro se, Appellant.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Senior Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Inasmuch as the Final Order of Paternity and Administrative Support relates to *1228 paternity, it is affirmed. However, in accordance with appellee's concession of error, as to all other matters, the order is reversed, and this matter is remanded for further proceedings.
ROBERTS, CLARK, and SWANSON, JJ., concur.
